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           In the United States Court of Federal Claims
                                          No. 18-1124C
                                    (Filed: October 18, 2023)

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WAZEE STREET OPPORTUNITIES
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FUND IV LP, et al.,
                                     *
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            Plaintiffs,
                                     *
                                     *
v.
                                     *
                                     *
THE UNITED STATES,
                                     *
                                     *
            Defendant.
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                                             ORDER

       On October 6, 2023, plaintiffs in the above-captioned case filed their response to the
government’s motion to dismiss. Within their brief, plaintiffs assert that they “will voluntarily
dismiss” Counts IX and XI of their second amended complaint. Pls.’ Resp. 1, 6. To facilitate
the court’s efficient resolution of the pending motion to dismiss, plaintiffs must dismiss those
counts before defendant files its reply brief.

        Accordingly, plaintiffs shall FILE a notice of partial voluntary dismissal pursuant to
RCFC 41(a)(1)(A)(i) dismissing Counts IX and XI of their second amended complaint by no
later than Monday, October 30, 2023.

       IT IS SO ORDERED.

                                                     s/ Margaret M. Sweeney
                                                     MARGARET M. SWEENEY
                                                     Senior Judge
